         Case 5:20-cv-03066-JWL Document 17 Filed 11/09/20 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


JACK K. NORRIS,

              Petitioner,

              v.                                     CASE NO. 20-3066-JWL

COMMANDANT,
United States Disciplinary Barracks,

              Respondent.


                                          ORDER

       On November 6, 2020, Petitioner filed an Unopposed Motion to Stay Proceedings (ECF

No. 16). Petitioner requests a stay of the proceedings in this case pending the outcome of three

cases currently before the United States Court of Appeals for the Tenth Circuit because decisions

in those cases will provide binding precedent regarding the review an Article III court must

undertake when asked to examine an Article I court’s constitutional rulings. The three cases are:

Page v. Commandant, D. Kan. 9-CV-3020-JWL, 10CCA 20-3005; Santucci v. Commandant, D.

Kan. 19-CV-3116-JWL, 10CCA 20-3149; and Bales v. Commandant, D. Kan. 19-CV-3112-JWL,

10CCA 20-3167. Petitioner states that Respondent has no objection to a stay.

       The Court has reviewed the motion and finds that it should be granted.

       IT IS THEREFORE ORDERED BY THE COURT that Petitioner’s Unopposed Motion

for Stay (ECF No. 16) is hereby granted. This case is stayed pending the decisions of the U.S.

Court of Appeals for the Tenth Circuit in Page v. Commandant, D. Kan. 9-CV-3020-JWL, 10CCA

20-3005; Santucci v. Commandant, D. Kan. 19-CV-3116-JWL, 10CCA 20-3149; and Bales v.

Commandant, D. Kan. 19-CV-3112-JWL, 10CCA 20-3167. The parties shall contact the Court



                                               1
          Case 5:20-cv-03066-JWL Document 17 Filed 11/09/20 Page 2 of 2




within 30 days of the issuance of the mandate in the last of these cases for further scheduling in

this matter.



       IT IS SO ORDERED.

       Dated in Kansas City, Kansas, on this 9th day of November, 2020.



                                             S/ John W. Lungstrum
                                             JOHN W. LUNGSTRUM
                                             UNITED STATES DISTRICT JUDGE




                                                2
